                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION

                                  DOCKET NO.

[Case Caption goes here]


        CERTIFICATION AND REPORT OF F.R.C.P 26(f) CONFERENCE
                  AND PROPOSED DISCOVERY PLAN

     1. Certification of Conference. Pursuant to Fed. R. Civ. P. 26(f), a meeting was held
           on 12-12-2008 between




2.      Pre-Discovery Disclosures.
               The information required by Fed. R. Civ. P. 26(a)(1) will be exchanged by
               12-12-2008.
               The parties stipulate out of or object to mandatory initial disclosures.




3.      Brief Statement of the Nature and Complexity of the Case.
            This is an action for the alleged breach of agreements as a result of
            Defendant's failure to pay for telecommunications services provided by
            Plaintiff. Defendant denies that it has breached the agreements and alleges
            that it has paid all amounts actually due to Plaintiff. The Parties do not
            believe that the substantive issues are particularly complex.




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4.      Case Management Track.

              The parties jointly request that this matter be assigned to the
              Complex/Extended Track. If this case management track is assigned,
              the discovery completion deadline would be 12-12-2008 and the
              dispositive motions deadline would be 12-12-2008.




              The parties disagree as to the appropriate case management track.




              (Check if applicable and explain below.) Identify any anticipated conflicts
              (including personal or professional obligations, family or medical leave, or
              vacation that has been secured in advance) upon which any party or
              counsel would seek to have the discovery period extended by a reasonable
              period of not more than eight (8) weeks and/or the trial setting continued
              not more than one (1) complete motions/trial calendar cycle beyond that
              which otherwise would be justified based solely on the nature and
              complexity of the case:




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5.     Discovery Plan. The parties jointly propose to the Court the following discovery
deadlines and limitations.

       (a)    Deadline for motions to join additional parties or otherwise amend the
              pleadings: 12-12-2008.

       (b)    Discovery Limits:
              1)    Maximum of [#] interrogatories per party.
              2)    Maximum of [#] requests for production per party.
              3)    Maximum of [#] requests for admission per party.
              4)    Maximum of [#] hours of oral deposition per party.

       (c)    Expert reports from retained experts under Rule 26(a)(2) will be due:
              - from plaintiff(s) by 12-12-2008;
              - from defendant(s) by 12-12-2008;
              Supplementations under Rule 26(e) due [list dates or time intervals]    .

       (d)    Special Issues Regarding the Scope and Schedule of Discovery. (Note that
              in cases complex enough to warrant the bifurcation of discovery or other
              proceedings, the parties may propose separate phases of discovery,
              provided that the aggregate amount of time allocated to all phases of
              discovery does not exceed the total number of weeks permitted for
              discovery given the appropriate case management track.)



              [Discuss whether discovery should be conducted in phases and/or
              limited to or focused on particular issues, etc.]




       (e)    Objections:



              [Discuss any objections to or disagreement over the discovery
              deadlines and limitations indicated above.]




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6.      Other Items.

        (a)    Initial Pretrial Conference. The parties do not request a conference with
               the Court prior to the entry of a Case Management Order.

        (b)   Alternative Dispute Resolution.
              Based upon preliminary discussions, settlement in this case
        cannot yet be adequately evaluated.     The prospect of settlement may be
        enhanced by use of the following ADR procedure:
                      Mediated Settlement Conference
                      Judicial Settlement Conference
                      Binding Arbitration
                      Other: [Please Identify]

                The parties agree that the above-selected ADR procedure would be most
        useful if conducted:
                       Prior to further discovery.
                       After an initial round of preliminary discovery to be completed by
                       12-12-2008.
                       1/26/2022
                       After the completion of discovery.

        (c)    Trial Estimates. If this case is ultimately tried, trial is expected to take
               approximately [length of time]. This case will be tried without a jury.

        (e)    Local Civil Rule 73.1(C) Certification.
                      The parties have discussed the issue of consent to the jurisdiction
                      of a U.S. magistrate judge. If unanimous consent is present, file an
                      executed Joint Stipulation of Consent form (WDNC Form 34)
                      contemporaneously with the CIAC or else the option to consent
                      may be deemed waived as untimely.

7.      Please identify any other matters regarding discovery or case management which
may require the Court’s attention (e.g., concerns re: confidentiality, privilege, and
electronically stored information):




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